UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 Chapter 11
 In re:
                                                 Case No. 22-10964 (MG)
 CELSIUS NETWORK LLC, et al.,
                                                 (Jointly Administered)
                        Debtors.
                                                 Re: ECF Doc. #3527

             NOTICE OF WITHDRAWAL OF CONFIRMATION OBJECTION

          Pharos Fund SP of Pharos Master SPC and Pharos USD Fund SP of Pharos Master SPC

hereby withdraw their plan confirmation objection filed September 22, 2023.


Dated: New York, New York                          AMINI LLC
       October 11, 2023
                                                   /s/ Jeffrey Chubak
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